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                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,  )              CR. NO. 17-00001 HG-01
                           )
               Plaintiff,  )
                           )
          vs.              )
                           )
SHEILA HARRIS,             )
                           )
               Defendant.  )
___________________________)
                           ORDER ON FORFEITURE


      On May 24, 2017, the grand jury returned the First

Superseding Indictment, charging Defendant Sheila Harris as

follows:

      Counts 1-11 for Wire Fraud in violation of 18 U.S.C. §
      1343;

      Counts 12-13 for Aggravated Identity Theft in violation
      of 18 U.S.C. § 1028A(a)(1); and

      Counts 14-17 for False Statements Relating To Health
      Care Matters in violation of 18 U.S.C. § 1035(a)(2).


      The First Superseding Indictment also contained Forfeiture

Allegations relating to Counts 1 through 11 for Wire Fraud.

      On May 10, 2018, following a ten-day trial, the jury found

Defendant Sheila Harris guilty on all Counts, 1 through 17, of

the First Superseding Indictment.

      Following the verdict, the Government filed a proposed

Forfeiture Order, seeking a money judgment in the amount of

$320,641, “which represents property that constitutes or is


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derived from proceeds traceable to the commission of the offenses

of which defendant Sheila Harris has been found guilty, namely

[wire fraud] violations of 18 U.S.C. § 1343, and that is

accordingly subject to forfeiture pursuant to 18 U.S.C. §

981(a)(1)(C) and 28 U.S.C. § 2461(c).”

      Defendant opposed the Government’s proposed order of

forfeiture.

      On October 29, 2018, the Court held a forfeiture hearing.

The Court ruled at the hearing that the Government’s proposed

Forfeiture Order and its calculations for the amount of money

judgment were proper.      The Court signed and filed the Forfeiture

Order.

      This Order sets forth the written basis for the oral rulings

rendered at the Forfeiture Hearing on October 29, 2018.


                            PROCEDURAL HISTORY


      On May 24, 2017, the grand jury returned the First

Superseding Indictment.       (ECF No. 17).

      On April 10, 2018, the Government filed GOVERNMENT’S NOTICE

OF FORFEITURE PROCEEDINGS.       (ECF No. 94).

      On May 10, 2018, following a ten-day trial, the jury found

Defendant guilty of all Counts, 1-17, in the First Superseding

Indictment.     (ECF No. 152).

      On May 23, 2018, the Government submitted a proposed

Forfeiture Order and filed the GOVERNMENT’S BRIEF CONCERNING THE


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CALCULATION OF THE AMOUNT OF THE FORFEITURE MONEY JUDGMENT.              (ECF

No. 159).

      On June 6, 2018, the Court issued a briefing schedule and

permitted the Defendant until July 6, 2018 to file her response

to the Government’s brief and proposed order.           (ECF No. 160).

      On June 25, 2018, Defendant filed a Motion to Continue.

(ECF No. 161).

      On July 2, 2018, the Court issued a Minute Order granting

Defendant’s Motion to Continue, in part, and denying the Motion,

in part.    (ECF No. 164).

      On July 30, 2018, Attorney Georgia McMillen filed a proposed

stipulation to substitute counsel on behalf of Defendant.             (ECF

No. 167).

      On July 31, 2018, Defendant’s Attorney, Victor Bakke, filed

a Motion to Withdraw as Counsel.          (ECF No. 168).

      On August 6, 2018, Attorney Bakke filed an Opposition to the

Government’s Proposed Order of Forfeiture and a Request for a

Forfeiture Hearing on Defendant Harris’ behalf.            (ECF No. 170).

      On August 10, 2018, the Court issued a Minute Order setting

a hearing for August 20, 2018 to discuss Attorney Bakke’s Motion

to Withdraw as Counsel and Defendant’s Request for a Forfeiture

Hearing.    (ECF No. 172).

      On August 14, 2018, Attorney Bakke filed another Motion to

Continue.    (ECF No. 174).

      On August 15, 2018, the Court granted Attorney Bakke’s


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Second Motion to Continue.       (ECF No. 175).

      On September 4, 2018, the Court held a hearing.            (ECF No.

189).    The Court granted Attorney Bakke’s Motion to Withdraw as

Counsel.    The Court granted Attorney McMillen’s request to

substitute as counsel and also granted Attorney Ronald W.

Chapman, II’s Motion to Appear Pro Hac Vice.           (Id.)

      Defendant’s new counsel requested to withdraw the Opposition

filed by Attorney Bakke to the Government’s Proposed Forfeiture

Order.    The Court granted the request to withdraw the previously

filed opposition.      (ECF No. 170).     The Court granted the

Defendant’s request for a Forfeiture Hearing and set a briefing

schedule to allow new counsel to respond to the Government’s

Proposed Forfeiture Order.       (ECF No. 189).

      On October 1, 2018, Defendant filed DEFENDANT SHEILA HARRIS’

MEMORANDUM IN OPPOSITION TO GOVERNMENT’S BRIEF CONCERNING THE

CALCULATION OF THE AMOUNT OF THE FORFEITURE MONEY JUDGMENT.              (ECF

No. 191).

      On October 16, 2018, the Government filed GOVERNMENT’S

RESPONSE CONCERNING FORFEITURE TO DEFENDANT SHEILA HARRIS’

MEMORANDUM IN OPPOSITION TO GOVERNMENT’S BRIEF CONCERNING THE

CALCULATION OF THE AMOUNT OF THE FORFEITURE MONEY JUDGMENT.              (ECF

No. 192).

      On October 23, 2018, Defendant filed DEFENDANT SHEILA

HARRIS’ REPLY TO GOVERNMENT’S RESPONSE CONCERNING FORFEITURE TO

DEFENDANT’S MEMORANDUM IN OPPOSITION TO GOVERNMENT’S BRIEF


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CONCERNING THE CALCULATION OF THE AMOUNT OF THE FORFEITURE MONEY

JUDGMENT.    (ECF No. 193).

      On October 29, 2018, the Court held a Forfeiture Hearing.

(ECF No. 194).

      On October 30, 2018, the Court issued an ORDER OF

FORFEITURE.     (ECF No. 195).


                            STANDARD OF REVIEW


      Federal Rule of Criminal Procedure 32.2 and 21 U.S.C. § 853

govern criminal forfeiture proceedings.          See Fed. R. Crim. P.

32.2; 31 U.S.C. § 5317(c)(1)(B); 18 U.S.C. § 982(b)(1).

      Pursuant to Federal Rule of Criminal Procedure

32.2(b)(1)(A), following a finding of guilt, the Court must

determine what property is subject to forfeiture under the

applicable statute “as soon as practical.”

      If the Government seeks a personal money judgment, the Court

must determine the amount of money that the defendant will be

ordered to pay.     Fed. R. Crim. P. 32.2(b)(1)(A).        The Court’s

determination may be based on evidence already in the record and

on any additional evidence or information submitted by the

parties and accepted by the Court as relevant and reliable.               Fed.

R. Crim. P. 32.2(b)(1)(B).

      A forfeiture proceeding is part of sentencing.             United

States v. Christensen, 828 F.3d 763, 821 (9th Cir. 2015); United

States v. Haleamau, 887 F.Supp.2d 1051, 1054 (D. Haw. 2012).               The


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preponderance of the evidence standard, therefore, applies to the

forfeiture proceedings.       Libretti v. United States, 516 U.S. 29,

49 (1995).


                                  ANALYSIS


      The Government submitted a Proposed Forfeiture Order

requesting a money judgment in the amount of $320,641.00.             The

amount constitutes the proceeds traceable to the entire scheme to

defraud TRICARE that Defendant Harris was found guilty of

committing.

      Defendant is attempting to challenge the Government’s

Proposed Forfeiture Order on two main bases.

      First, Defendant claims that notice of forfeiture was not

proper.    She claims that the Government did not provide the

correct statutory basis to seek forfeiture for violations of Wire

Fraud.

      Second, Defendant argues that the Government’s forfeiture

calculation is not reliable.

      Neither of Defendant’s arguments have merit.

      Defendant’s arguments regarding the statutory basis for

forfeiture have been rejected by numerous courts.           The Ninth

Circuit Court of Appeals has specifically ruled that criminal

forfeiture for Wire Fraud violations is authorized pursuant to

the two statutes cited by the Government in the First Superseding

Indictment.     United States v. Lo, 839 F.3d 777, 791 (9th Cir.


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2016) (finding criminal forfeiture is authorized for wire fraud

where the government includes a criminal forfeiture allegation

pursuant to 18 U.S.C. § 981 and 28 U.S.C. § 2461(c), even though

Section 981 typically governs civil, rather than criminal

forfeiture).

      Defendant’s arguments regarding the Government’s forfeiture

calculations are also meritless.          Defendant, with the assistance

of new counsel, essentially seeks to retry the ten-day jury

trial.    Defendant seeks to recall witnesses and challenge the

evidence that the jury relied upon in finding Defendant guilty of

all the counts in the First Superseding Indictment.              Defendant

has provided no basis to invalidate any of the evidence the jury

relied upon in reaching its verdict.

      The Government properly calculated the amount of forfeiture

based on the evidence adduced at trial.          The forfeiture

calculation properly includes the entire scheme to defraud that

the jury concluded Defendant Harris conducted.


I.    The Government Provided Proper Notice That It Intended To
      Seek Forfeiture Of The Entire Proceeds Of Defendant’s Wire
      Fraud Scheme Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28
      U.S.C. § 2461(c)


      The First Superseding Indictment contained forfeiture

allegations in paragraphs 22 through 24, as follows:


            22.   The allegations contained in all paragraphs
                  of Counts 1 through 11 [of the First
                  Superseding Indictment] are incorporated by

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                  reference for the purpose of noticing
                  forfeitures pursuant to Title 28, United
                  States Code, Section 2461(c).

            23.   The United States hereby gives notice to
                  Defendant SHEILA HARRIS that, upon conviction
                  of the offenses charged in Counts 1 through
                  11 of this first superseding indictment, the
                  government will seek forfeiture, in
                  accordance with Title 28, United States Code,
                  Section 2461(c), and Title 18, United States
                  Code, Section 981(a)(1)(C), of any and all
                  property, real or personal, that constitutes
                  or is derived from proceeds traceable to the
                  violations of Title 18, United States Code,
                  Section 1343, alleged in Counts 1 through 11
                  of this first superseding indictment.

            24.   If by any act of omission of the defendant,
                  any of the property subject to forfeiture
                  described in paragraph 23 herein:

                        a.    cannot be located upon the exercise
                              of due diligence;

                        b.    has been transferred or sold to, or
                              deposited with, a third party;

                        c.    has been placed beyond the
                              jurisdiction of the court;

                        d.    has been substantially diminished
                              in value; or

                        e.    has been commingled with other
                              property which cannot be subdivided
                              without difficulty,

                  the United States of America will be entitled
                  to the forfeiture of substitute property up
                  to the value of the property described above
                  in paragraph 23, pursuant to Title 21, United
                  States Code, Section 853(p), as incorporated
                  by Title 28, United States Code, Section
                  2461(c).

      (First Superseding Indictment at ¶¶ 22-24, ECF No. 17).

      Defendant was provided with further notice, on April 10,


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2018, when the Government filed a Notice of Forfeiture.             (ECF No.

94).

       The Notice of Forfeiture set forth the Government’s legal

basis for seeking forfeiture in this case.          The Notice clarified

that the Government was not seeking “any specific assets; it

simply provides notice that the United States seeks imposition of

a money judgment.”      (Id. at p. 2).

       On May 10, 2018, Defendant Sheila Harris was convicted of 11

counts of Wire Fraud in violation of 18 U.S.C. § 1343.             (ECF No.

152).

       The Government seeks a money judgment requiring Defendant

Harris to forfeit the proceeds of the scheme to defraud for which

she was convicted.

       Defendant Harris claims that the Government did not provide

her with proper notice that the Government was seeking forfeiture

for the wire fraud charges.        Specifically, Defendant claims that

the Government did not cite the correct statute when it provided

its notice and therefore should be barred from seeking

forfeiture.


       A.   28 U.S.C. § 2461(c) Allows For Criminal Forfeiture For
            A Violation Of A Federal Statute For Which Either Civil
            Or Criminal Forfeiture Of Property Is Authorized


       Title 18 of the United States Code separates civil and

criminal forfeiture into two different sections.           Section 981

covers civil forfeiture.       Section 982 covers criminal forfeiture.


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 See 18 U.S.C. §§ 981-982.

       Defendant argues that the Government should have cited to

 Section 982 in its forfeiture allegations instead of citing to

 Section 981, which allows for civil forfeiture.           Defendant is

 incorrect.

       Defendant’s argument ignores another federal statute, 28

 U.S.C. § 2461(c).1     28 U.S.C. § 2461(c) explains that the

 Government may seek criminal forfeiture for a violation of any

 federal statute “for which the civil or criminal forfeiture or

 property is authorized.”       United States v. Pollard, 850 F.3d

 1038, 1041-42 (9th Cir. 2017).        Section 2461(c) works in

 conjunction with Sections 981 and 982 and does not invalidate any

 provisions of either section.

       Such arguments challenging Section 2461(c)’s application in

 criminal forfeiture have been uniformly rejected.           United States

 v. Day, 524 F.3d 1361, 1374-76 (D.C. Cir. 2008) (citing United

 States v. Vampire Nation, 451 F.3d 189, 199 (3d Cir. 2006));

 United States v. Hampton, 732 F.3d 687, 691 (6th Cir. 2013); see

 also United States v. Nagin, 810 F.3d 348, 352-53 (5th Cir.



       1
           28 U.S.C. § 2461(c) provides:

       If a person is charged in a criminal case with a violation
       of an Act of Congress for which the civil or criminal
       forfeiture of property is authorized, the Government may
       include notice of the forfeiture in the indictment or
       information pursuant to the Federal Rules of Criminal
       Procedure. If the defendant is convicted of the offense
       giving rise to the forfeiture, the court shall order the
       forfeiture of the property as part of the sentence in the
       criminal case....
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 2016); United States v. Blackman, 746 F.3d 137, 143 (4th Cir.

 2014).

       The Ninth Circuit Court of Appeals has held that under the

 plain meaning of 28 U.S.C. § 2461(c), the Government has

 statutory authority to seek criminal forfeiture against a

 defendant if it has the authority to seek civil forfeiture for

 the statute of offense under which she was convicted.            Pollard,

 850 F.3d at 1041-42.

       The Ninth Circuit Court of Appeals has explained that “where

 the government includes a criminal forfeiture allegation pursuant

 to 18 U.S.C. § 981 and 28 U.S.C. § 2461(c), forfeiture is

 authorized under § 981 even though that section typically governs

 civil, rather than criminal forfeiture.”         United States v. Lo,

 839 F.3d 777, 791 (9th Cir. 2016).

       Here, the Court is required to order forfeiture as long as

 the Government included notice of the forfeiture in the

 indictment and Defendant Harris was convicted of an offense for

 which Section 981 authorizes forfeiture.         Id.

       The Government noticed to Defendant Harris that it sought

 forfeiture relating to the entire scheme to defraud relating to

 Counts 1 through 11 for Wire Fraud, a violation of 18 U.S.C. §

 1343.    The Court examines whether the Government has statutory

 authority to seek either civil or criminal forfeiture for such

 violations:




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       B.     18 U.S.C. § 981(a)(1)(C) Authorizes Forfeiture For
              Violations Of The Wire Fraud Statute


       18 U.S.C. § 981(a)(1)(C) subjects property to civil

 forfeiture if it is obtained in violation of various listed

 statutes or if it is obtained as a result of “any offense

 constituting a ‘specified unlawful activity’ (as defined in

 section 1956(c)(7) of this title.”2

       “Specified unlawful activity” is defined as any act or

 activity constituting an offense listed in 18 U.S.C. § 1961(a).

 18 U.S.C. § 1956(c)(7)(A).

       Looking to the definitions in Section 1961(a), there are

 dozens of federal statutes provided as constituting a specified

 unlawful activity, including “section 1343 (relating to wire

 fraud).”     18 U.S.C. § 1961(a)(1).

       While many statutes are involved, it is clear that Congress

 intended that Section 981(a)(1)(C) authorizes the forfeiture of

 proceeds that are traceable to a violation of Wire Fraud, 18


       2
           18 U.S.C. 981(a)(1)(C) provides, in pertinent part:

       The following property is subject to forfeiture to the
       United States:

       (C)    Any property, real or personal, which constitutes or is
              derived from proceeds traceable to a violation of
              section 215, 471, 472, 473, 474, 476, 477, 478, 479,
              480, 481, 485, 486, 487, 488, 501, 502, 510, 542, 545,
              656, 657, 670, 842, 844, 1005, 1006, 1007, 1014, 1028,
              1029, 1030, 1032, or 1344 of this title or any offense
              constituting “specified unlawful activity” (as defined
              in section 1956(c)(7) of this title), or a conspiracy
              to commit such offense.
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 U.S.C. § 1343.     United States v. Day, 524 F.3d 1361, 1374-75

 (D.C. Cir. 2008); see U.S.C. § 1956(7) (referencing 18 U.S.C. §

 1961(1) that lists wire fraud).

       The combined operation of 18 U.S.C. § 981(a)(1)(C) and 28

 U.S.C. § 2461(c) authorizes personal money judgments as a form of

 criminal forfeiture for violations of the wire fraud statute.

 Lo, 839 F.3d at 791 (permitting criminal forfeiture for wire

 fraud violations pursuant to 18 U.S.C. § 981(a)(1)(C) and 28

 U.S.C. § 2461(c); United States v. Newman, 659 F.3d 1235, 1242-43

 (9th Cir. 2011); United States v. Hampton, 732 F.3d 687, 697 (6th

 Cir. 2013) (finding forfeiture “arising from conviction for

 general wire fraud is authorized by § 2461(c)’s incorporation of

 the provision authorizing civil forfeiture” in 18 U.S.C. §

 981(a)(1)(C)).


 II.   The Government’s Forfeiture Calculations Are Proper


       The purpose of the forfeiture laws is to ensure that

 criminal defendants do not profit from their criminal conduct.

 United States v. Monsanto, 491 U.S. 600, 607 (1989); United

 States v. Johnston, 199 F.3d 1015, 1023 (9th Cir. 1999).

       In this case, a forfeiture money judgment is sought by the

 Government.    The Court, not the jury, determines the amount of

 the money judgment.      Libretti v. United States, 516 U.S. 29, 49

 (1995); United States v. Phillips, 704 F.3d 754, 771 (9th Cir.

 2012).

       The Government seeks forfeiture based on the jury’s verdict
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 finding Defendant Sheila Harris guilty of Counts 1-11 for

 committing Wire Fraud in violation of 18 U.S.C. § 1343.            The

 Government seeks a forfeiture money judgment in the amount of

 $320,641.    The Government seeks the proceeds traceable to the

 Wire Fraud convictions.

       The Government argues that $320,641 is appropriate for

 forfeiture because Defendant Sheila Harris should not be able to

 profit from her engagement in a scheme to defraud the TRICARE

 health care benefits program for the United States Department of

 Defense.    The money judgment calculation consists of:

       (1)   $234,950 TRICARE paid to Defendant Harris for
             fraudulently billed services for speech therapy between
             July 28, 2008 and December 31, 2011.

             Evidence at trial demonstrated that speech therapy
             services were regularly provided to children of TRICARE
             beneficiaries on one date but the beneficiaries were
             billed for two separate days.

             The fraudulent billing by Defendant Harris resulted in
             two payments to Defendant when she was only entitled to
             one payment. The $234,950.00 forfeiture calculation
             consists of the second, consecutive dates that were
             fraudulently billed.

       (2)   $85,692 TRICARE paid to Defendant Harris for
             fraudulently billed services stating that Kara Spheeris
             was the rendering speech therapy provider between July
             2, 2010 and September 15, 2012.

             Evidence at trial demonstrated that Ms. Spheeris was on
             maternity leave from July 2, 2010 and September 15,
             2012 and did not provide any speech therapy services
             for Harris Therapy during that time.

             Evidence at trial demonstrated that Defendant Harris
             knew Ms. Spheeris was not providing services but Harris
             Therapy billed TRICARE with Ms. Spheeris’ credentials
             and provider information between July 2, 2010 and
             September 15, 2012 in order to receive payments from
             TRICARE.
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       A.    Defendant Is Responsible For The Entire Proceeds She
             Obtained As A Result Of The Wire Fraud Scheme

             1.    “Proceeds”

       The Government is authorized to seek forfeiture of “any

 property, real or personal, which constitutes or is derived from

 proceeds traceable to a violation” of Wire Fraud.           18 U.S.C. §

 981(a)(1)(C); see 28 U.S.C. § 2461(c) (citing 18 U.S.C. §

 1956(c)(7) that cross-references 18 U.S.C. § 1961(a)(1)).

       The term “proceeds” is defined in part as “property of any

 kind obtained directly or indirectly, as the result of the

 commission of the [Wire Fraud] offense giving rise to forfeiture,

 and any property traceable thereto, and is not limited to the net

 gain or profit realized from the offense.”          18 U.S.C. §

 981(a)(2)(A).

       The amount of forfeiture is not what the Defendant earned as

 a result but what was “obtained” as a result of the commission of

 the offense and it is expressly not limited by net gain or

 profit.    Lo, 839 F.3d at 791.


             2.    Entire Wire Fraud Scheme Subject To Forfeiture,
                   Not Just The Transactions Charged In The First
                   Superseding Indictment


       Defendant argues that the Government is limited to forfeit

 only the specific false amounts claimed in the particular wire

 communications charged in Counts 1 through 11 of the First

 Superseding Indictment.      She claims it cannot forfeit the

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 proceeds for the entire scheme to defraud.

       Defendant’s argument is foreclosed by established precedent

 in the Ninth Circuit.      In Lo, 839 F.3d at 793, the Ninth Circuit

 Court of Appeals explained that the language of the forfeiture

 statute, the same statute at issue here, “broadly makes

 forfeitable any property, obtained by the defendant directly or

 indirectly, as a result of the commission of a mail fraud or wire

 fraud offense.”     The appellate court explained that proceeds from

 wire fraud necessarily includes a fraudulent scheme as a whole,

 and the proceeds of the crime of conviction consist of the funds

 involved in the entire fraudulent scheme, including any

 additional executions of the scheme that were not specifically

 charged.    Lo, 839 F.3d at 793.

       Contrary to Defendant’s position, the Government was not

 required to specify the dollar amount that it sought to forfeit

 in the First Superseding Indictment.         Fed. R. Crim. P. 32.2(a);

 Lo, 839 F.3d at 791; United States v. Lazarenko, 504 F.Supp.2d

 791, 796-97 (N.D. Cal. 2007).


             3.    Wire Fraud Statute Of Limitations Does Not Limit
                   Forfeiture Amount


       Defendant further argues that the Government is precluded

 from seeking to forfeit any fraudulent claims prior to October

 2010 due to the six-year statute of limitations for Wire Fraud.

       The Defendant’s argument is not persuasive.          Forfeiture is

 not a substantive criminal offense, but it is part of sentencing.

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 United States v. Christensen, 828 F.3d 763, 821 (9th Cir. 2015).

 The First Superseding Indictment specifically charged that the

 Wire Fraud scheme began on a date unknown to the grand jury, but

 at least by October 2010.

       It is well-settled that defendants must forfeit the total

 proceeds of the scheme to defraud.        Lo, 839 F.3d at 793-94;

 United States v. Venturella, 585 F.3d 1013, 1017 (7th Cir. 2009);

 United States v. Capoccia, 503 F.3d 103, 117 (2d Cir. 2007).

       Here, the Court specifically ruled that the Government was

 permitted to introduce evidence of the entire scheme to defraud.

 (ORDER GRANTING GOVERNMENT’S MOTION IN LIMINE TO ADMIT EVIDENCE

 OF SCHEME TO DEFRAUD AND DENYING DEFENDANT’S MOTION TO EXCLUDE

 EVIDENCE PURSUANT TO FED. R. EVID. 404(b), ECF No. 116).

       At trial, the Government introduced evidence that the

 Defendant’s scheme to defraud occurred between July 28, 2008 and

 September 15, 2012.

       There is no particular statute of limitations for forfeiture

 and a criminal defendant may not benefit and keep the proceeds of

 part of the scheme to defraud because some transactions occurred

 outside the substantive crime’s statute of limitations.            United

 States v. Sigillito, 899 F.Supp.2d 850, 861 (E.D. Mo. 2012)

 (aff’d United States v. Sigillito, 759 F.3d 913 (8th Cir. 2014)).

       The Fifth Circuit Court of Appeals specifically addressed a

 nearly identical statute of limitations argument in United States

 v. Reed,      F.3d    , 2018 WL 5782615, *15 (5th Cir. Nov. 5,

 2018).   In Reed, the district court ruled that the defendant was
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 required to forfeiture the proceeds from an entire 20-year scheme

 to defraud as a result of his mail fraud convictions.

       On appeal, the Fifth Circuit Court of Appeal upheld the

 forfeiture finding.      The appellate court explained that there was

 no error in finding that the defendant “had engaged in a

 continuing scheme over 20 years.”         Id. at *15.   The appeals court

 rejected the defendant’s argument that the forfeiture was limited

 to a five-year statute of limitations based on the statute of

 limitations for mail fraud.       Id. at *16.     The appellate court

 explained that there was no statute of limitations applicable to

 the forfeiture and “the district court was entitled to impose

 forfeiture on all proceeds from [the defendant’s] continuous

 criminal scheme—including those that fell outside the five-year

 limitations period for mail fraud.”         Id.

       The Government’s forfeiture order properly includes

 calculations based on Defendant’s entire scheme to defraud

 between July 28, 2008 and September 15, 2012 as to Counts 1

 through 11 in the First Superseding Indictment.


       B.    The Government’s Calculation Of $234,950 For
             Fraudulently Billed Consecutive Dates Of Service Is
             Proper


       The Government seeks to forfeit $234,950 in total payments

 made to Defendant Harris for claims for fraudulently-billed

 consecutive dates of service between July 28, 2008 and December

 31, 2011.


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       Federal Bureau of Investigation Special Agent Laura Salazar

 testified at trial that the Government analyzed the claims

 submitted by Defendant Harris to TRICARE under speech therapy

 treatment code 92507 between July 28, 2008 and December 31, 2011.

 The Government identified the pattern of consecutive dates of

 service in the data obtained from TRICARE.          The data demonstrates

 that Defendant made claims for two dates of service when only one

 date of service was rendered and also made claims for four dates

 of service when only two dates of service were rendered.

       The Government introduced evidence from the parents of the

 children who received the services.        The parents uniformly

 testified that their own recollections and personal records,

 including calendars, did not match the billing records from

 Defendant.    The parents explained that Defendant consistently

 double billed TRICARE for services that were rendered whereby

 Defendant was paid for two services when only one service was

 rendered.    The parents explained that this generally happened

 where speech therapy service was rendered on one particular date

 but TRICARE was billed for services on the particular date along

 with an additional date of service on the date following the date

 services were actually rendered.

       The speech therapists and support staff also testified

 consistently with the billing practices that were testified to by

 the parents.    The speech therapists and Harris Therapy employees

 testified that Defendant Harris instructed them to bill for two

 dates of services even though only one date of service was
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 provided to the beneficiaries.

       The Government seeks forfeiture of $232,027 in fraudulent

 payments made to Defendant for these fraudulent consecutive dates

 of billings in addition to $2,923 in cost-share and co-payments

 made by the beneficiaries to the Defendant for a total of

 $234,950.    (Gov’t Ex. A, Total Amounts Paid to Harris Therapy for

 Consecutive Claims for Speech Therapy Code 92507 from TRICARE,

 ECF No. 159-1; Gov’t Ex. C, Total Amounts Paid To Harris Therapy

 For Cost-Share And Co-Pays for Consecutive Claims for Speech

 Therapy Code 92507, ECF No. 159-3).


       C.    The Government’s Calculation Of $85,691 For
             Fraudulently Billed Services Falsely Presented As
             Provided By Kara Spheeris Is Proper


       The Government also seeks forfeiture of $85,691 in payments

 to Defendant from TRICARE for speech therapy treatment sessions

 that Defendant billed between July 2, 2010 and September 15,

 2012, listing the rendering provider as Kara Spheeris even though

 she was not working and on maternity leave between those dates.

       At trial, Kara Spheeris testified that she did not provide

 any services while she was on maternity leave between July 2,

 2010 and September 15, 2012.

       The Government provided evidence and testimony at trial that

 Defendant Harris directed that Kara Spheeris’ credentials be

 falsely provided to TRICARE for appointments while she was out on

 maternity leave.     Defendant directed that TRICARE be falsely

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 billed rather than have other speech therapists who were actually

 providing services go through a process to be approved to render

 services by TRICARE.      Multiple speech therapists testified as to

 the importance of having the correct rendering provider listed on

 the patient’s medical records.

       The Government set forth its calculations explaining that

 TRICARE paid Defendant $136,036 for speech therapy performed

 between July 2, 2010 and September 15, 2012, falsely billed under

 Kara Spheeris’ identification and credentials.          (Gov’t Ex. B, ECF

 No. 159-3).    Defendant received an additional $1775 in

 beneficiary cost-share/co-pays for a total of $137,811.            The

 Government subtracted $52,120 for bills that were already

 included in the calculation for fraudulently billed second,

 consecutive dates of service.

       The remaining total of $85,691 represents the amount of

 money Defendant received for falsely using Kara Spheeris’

 identification and credentials that was not also subject to the

 second, consecutive dates amount.

       The total amount of forfeiture sought is as follows:

       $234,950 in fraudulently billed second, consecutive dates
       +$85,691 in fraudulently billed services for Kara Spheeris
       $320,641: total obtained by Defendant for scheme to defraud


       D.    The Government’s Calculations Are Reasonable And Based
             On Direct Evidence Presented At Trial


       The Government’s calculations are based on the evidence that

 was adduced during trial.
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       Defendant Harris’ arguments concerning forfeiture ignore the

 ten-day trial and the jury’s verdict.         Instead, she seeks to

 retry the case and discredit witnesses in her briefing.

       Defendant had a full and fair opportunity to present her

 defense at trial.     She may not use the forfeiture procedure to

 try and reassert her defenses or raise new defenses to the

 Government’s evidence presented at trial that was credited by the

 jury.

       Defendant also attempts to argue that the Government’s case

 agent, Federal Bureau of Investigation Special Agent Laura

 Salazar, should not have been able to testify at trial and

 present the Government’s calculations for the jury.              The Court

 ruled that Special Agent Salazar was permitted to testify as a

 summary witness.     (ORDER NUMBER ONE ON PRETRIAL MOTIONS, ECF No.

 115).   Defendant may not now attempt to discredit Special Agent

 Salazar after-the-fact.

       The jury heard the case over ten days and rendered its

 verdict.    The jury was able to assess the witness’s credibility

 and rely on the evidence that it found persuasive.           Defendant’s

 arguments concerning the amount of forfeiture appear to ignore

 the credited evidence from the trial and the jury’s verdict.              The

 Court ruled following the Government’s presentation of its case

 that there was sufficient evidence by which the jury could reach

 a verdict as a matter of law.

       The Government put forth evidence at trial to support the

 nexus between the monetary forfeiture calculation and Wire Fraud
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 scheme.    Fed. R. Crim. P. 32.2(b)(1)(A).

       Defendant Harris argues in Opposition that there are a

 variety of different methodologies that the Government could

 employ to calculate forfeiture.        Defendant has not put forth any

 of her own evidence or calculations to determine what she

 believes the correct forfeiture amount to be.

       She argues that the Government did not conduct a proper

 statistical analysis and incorrectly relied upon a random sample

 to calculate the amount of forfeiture.         Defendant again ignores

 the evidence in the record.

       The Government did not and was not required to conduct a

 statistical analysis.      Rather the Government calculated the

 amount of forfeiture based on the evidence adduced at trial and

 the reasonable inferences that can be drawn from the testimony

 and documentary evidence.

       Contrary to Defendant’s position, the calculation of a

 proper forfeiture amount does not demand mathematical exactitude.

 The district courts are permitted to use general points of

 reference and may make reasonable calculations from the evidence

 in determining forfeiture amount.        United States v. Treacy, 639

 F.3d 32, 48 (2d Cir. 2011).       A reasonable estimate of forfeiture

 is sufficient.     Id.; United States v. Ford, 296 F.Supp.3d 1251,

 1260-61 (D. Or. 2017).

       The Government is not required to prove the illegitimacy of

 each and every transaction in a fraudulent scheme when there is

 evidence that supports the reasonable inference as to the method
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 of the scheme.     United States v. Elder, 682 F.3d 1065, 1073 (8th

 Cir. 2012).

       The Government properly calculated the amount of money

 Defendant obtained as a result of her Wire Fraud scheme to

 defraud TRICARE based on the evidence at trial.


                                 CONCLUSION

       The Court finds that the Government’s Proposed Order of

 Forfeiture is consistent with the law and the evidence presented

 at trial.

       IT IS SO ORDERED.

       Dated: November 27, 2018, Honolulu, Hawaii.




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